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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


   In Re: Ohio Valley University                                  Bk. No.: 22-00056

                  Debtor


                MOTION TO EMPLOY ATTORNEY FOR THE TRUSTEE

          Comes now Thomas H. Fluharty, Trustee in the above styled matter, applies to the
   Court for authority to hire Thomas H. Fluharty, Esquire, 408 Lee Avenue, Clarksburg, WV
   26301, as attorney for your Trustee, and in support thereof states as follows:

          1. That the Debtor, Ohio Valley University filed a voluntary petition for relief under
   Chapter 7 of the Bankruptcy Code 11 U.S.C. §701 et seq., in the United States Bankruptcy
   Court for the Northern District of West Virginia.

           2. The Trustee believes it is necessary to employ counsel to assist him and to
   represent him in this proceeding. The Trustee respectfully requests an order approving the
   employment of Thomas H. Fluharty, Esquire, 408 Lee Avenue, Clarksburg, WV 26301, and
   believes that counsel has considerable experience in matters of this type and is well qualified
   to represent the Trustee in these proceedings.

           3. The professional services of Thomas H. Fluharty, Esquire, shall be, but not
   limited to, as follows:
           (a) to prepare on behalf of the Trustee any necessary motions and other pleadings;
           (b) to represent the Trustee at hearings on various motions and proceedings;
           (c) to take all necessary steps to take possession of and liquidate real and personal
   property; and
           (d) conduct limited examinations of real estate and mineral titles.

          4. That Thomas H. Fluharty, Esquire, is an attorney duly admitted to practice in the
   Courts of the State of West Virginia, is a “disinterested person” as that term is defined in
   §101 (13) of the Bankruptcy Code, and is qualified to act as attorney in these matters.

           5. The fees pertaining to the employment of Thomas H. Fluharty, Esquire, as agreed
   to by the Trustee, subject to Bankruptcy Court approval, are on an hourly basis of $350.00
   plus necessary costs and expenses. The attorney will make application for final
   compensation in accordance with local rules and any administrative orders entered by the
   Court in this proceeding.
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          WHEREFORE, Trustee prays that this court authorize the employment of Thomas

   H. Fluharty, Esquire, upon the terms and conditions set forth herein above and that he be

   granted such other and further relief as in equitable and just.



          DATED this        7th     day of        March       , 2022.




                                                            /s/ Thomas H. Fluharty
                                                          Thomas H. Fluharty, Trustee
                                                          WV Bar No.: 1231
                                                          408 Lee Avenue
                                                          Clarksburg, WV 26301
                                                          (304) 624-7832
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                                CERTIFICATE OF SERVICE

            I hereby certify that the foregoing MOTION TO EMPLOY ATTORNEY FOR

   THE TRUSTEE was served upon the following individuals, by placing a true and correct

   copy thereof in the United States mail, postage prepaid, at the addresses listed below, this

      7th     day of       March          , 2022.




   Served electronically on:

   Martin P. Sheehan, Esquire
   sheehanbankruptcy@wvdsl.net
   Counsel for debtor


   Office of the Assistant U.S. Trustee
   ustpregion04.ct.ecf@usdoj.gov



                                                        /s/ Thomas H. Fluharty
                                                        Thomas H. Fluharty, Trustee
